
718 S.E.2d 151 (2011)
Correna C. HOWE
v.
Bradley Earl HOWE.
No. 415P11.
Supreme Court of North Carolina.
October 6, 2011.
Bradley E. Howe, for Howe, Bradley Earl.
*152 Correna C. Howe, for Howe, Correna C.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 23rd of September 2011 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 6th of October 2011."
Upon consideration of the petition filed on the 23rd of September 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th of October 2011."
